Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 1 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 2 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 3 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 4 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 5 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 6 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 7 of 8
Case 18-55697-lrc   Doc 13   Filed 04/10/18 Entered 04/10/18 17:00:29   Desc Main
                             Document      Page 8 of 8
